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                                  UNITED STATES DISTRICT COURT                                  Priority         ___
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CASE NO.: 2:17-cv-07639 SJO-KS                                                DATE: March 24, 2020

TITLE:    Juno Therapeutics, Inc., et al. v. Kite Pharma, Inc.
=======================================================================
PRESENT: THE HONORABLE S. JAMES OTERO, UNITED STATES DISTRICT JUDGE

Victor Paul Cruz                                             Not Present
Courtroom Clerk                                              Court Reporter

COUNSEL PRESENT FOR PLAINTIFFS:                              COUNSEL PRESENT FOR DEFENDANTS:

Not Present                                                  Not Present

=======================================================================
PROCEEDINGS (in chambers): ORDER RE: DEFENDANT'S MOTION FOR JUDGMENT AS
A MATTER OF LAW PURSUANT TO FED. R. CIV. P. 50(B) AND/OR A NEW TRIAL
PURSUANT TO FED. R. CIV. P. 59 [ECF No. 659]

[Portions of the parties’ briefing filed in support of and in opposition to the motion ruled upon in
this Order were filed under seal. The parties are expected to file a joint report within five days
of this ruling proposing redactions of any confidential material. If the parties fail to file a joint
report, this Order will be publicly issued as-is.]

This matter comes before the Court on Defendant Kite Pharma, Inc.'s ("Defendant" or "Kite")
Motion for Judgment as a Matter of Law Pursuant to Fed. R. Civ. P. 50(b) and/or a New Trial
Pursuant to Fed. R. Civ. P. 59 ("JMOL") filed on January 21, 2020. (JMOL, ECF No. 659. 1)
Plaintiffs Juno Therapeutics, Inc. ("Juno") and Sloan Kettering Institute for Cancer Research
("SKI") (collectively, "Plaintiffs") filed their Opposition to Defendant's Motion for Judgment as a
Matter of Law and/or a New Trial ("Opposition" or "Opp.") on February 10, 2020. (Opp., ECF
Nos. 673. 2) Defendant filed its Reply in Support of a Motion for Judgment as a Matter of Law
Pursuant to Fed. R. Civ. P. 50(b) and/or a New Trial Pursuant to Fed. R. Civ. P. 59 ("Reply") on
February 24, 2020. (Reply, ECF No. 699. 3) In setting the post-trial briefing schedule, the Court
indicated that it would take the matter under submission following the filing of reply motions.
(Order, ECF No. 639 at 5; see also Fed. R. Civ. P. 78(b).) For the following reasons, the Court
DENIES Defendant's Motion for Judgment as a Matter of Law Pursuant to Fed. R. Civ. P. 50(b)
and/or a New Trial Pursuant to Fed. R. Civ. P. 59 [ECF No. 659].

1 Defendant subsequently filed a Corrected Memorandum in support of its JMOL on February 20, 2020, which the
Court has considered in this Order. (ECF No. 692.) Unless otherwise noted, all citations to Defendant's JMOL
refer to the Corrected Memorandum, ECF No. 692.
2 Plaintiffs subsequently filed a Corrected Opposition to Defendant's JMOL on February 10, 2020, which the Court

has considered in this Order. (ECF No. 683.) Unless otherwise noted, all citations to Plaintiffs' Opposition refer to
the Corrected Opposition, ECF No. 683.
3 Unless otherwise noted, all citations to Defendant's Reply refer to the sealed Reply, at ECF No. 709.

MINUTES FORM 11                                                                                ___: ___
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       I. BACKGROUND

This is a patent infringement action involving U.S. Patent No. 7,446,190 ("the '190 Patent"), titled
"Nucleic Acids Encoding Chimeric T Cell Receptors." The '190 Patent issued on November 4,
2008 and incorporates a provisional application filed on May 28, 2002. ('190 Patent Caption.)
The claimed invention provides "nucleic acid polymer encoding [] chimeric TCR's [T Cell
Receptors] . . . ." ('190 Patent, col. 2:11-14.) The chimeric TCRs encoded by the claimed
invention "combine, in a single chimeric species, the intracellular domain of CD3 ζ-chain ("zeta
chain portion"), a signaling region from a costimulatory protein such as CD28 with a binding
element that specifically interacts with a selected target." ('190 Patent, col. 2:14-18.) These
TCRs are designed to "specifically interact[] with a cellular marker associated with target cells,"
resulting in the stimulation of a T cell immune response to the target cells. ('190 Patent, col.
2:30-36.)

Plaintiffs initiated this action on October 18, 2017, alleging that Defendant infringes the '190
Patent through the use, sale, offer for sale, or importation of one of Defendant's immunotherapy
treatments, YESCARTA®. YESCARTA® is described as a "therapy in which a patient's T cells
are engineered to express a chimeric antigen receptor (CAR) to target the antigen CD19, a
protein expressed on the cell surface of B-cell lymphomas and leukemias, and redirect the T
cells to kill cancer cells." (Second Amended Complaint ("SAC") ¶ 18, ECF No. 484.) Plaintiffs
assert that YESCARTA® infringes the '190 Patent by utilizing nucleic acid polymers encoding
chimeric TCRs within the scope of the '190 Patent claims. (SAC ¶ 26.) Defendant, in turn, filed
counterclaims seeking declaratory judgments of non-infringement and invalidity of the '190
Patent. (See generally, Answer to SAC and Counterclaims, ECF No. 617.)

On October 9, 2018, the Court issued the Claim Construction Order construing, inter alia, the
following claim term:

 Claim Term                              Court's Construction
 "the amino acid sequence encoded by SEQ Before the Certificate of Correction:
 ID NO:6"                                Amino Acids 113-220 of CD28 (starting with
                                         lysine (K))

                                                   After the Certificate of Correction:
                                                   Amino Acids 114-220 of CD28 (starting with
                                                   isoleucine (I))

(Claim Construction Order, ECF No. 100.) In relevant part, the Court's Claim Construction Order
was based upon the following: (1) Applicants filed Provisional Application No. 60/383,872 and
incorporated a journal article identifying "nucleotides 336-660 of CD28"; (2) Applicants
subsequently filed a non-provisional patent application incorporating the same language and
defining SEQ ID NO:6 in accordance with this description; (3) following approval by the patent

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examiner, applicants filed a Request for Continuing Examination ("RCE") noting an error in the
presentation of SEQ ID NO:6 and requesting removal of the first four nucleotides, such that the
first codon corresponds to isoleucine, amino acid 114 of CD28, rather than lysine, amino acid
113; (4) the Patent and Trademark Office ("PTO") rejected the amended listing as damaged or
unreadable; (5) the applicants provided a new copy again reflecting the changes to the
presentation of SEQ ID NO:6; (6) the PTO again rejected the filing, for failure to comply with
PTO formatting requirements; (7) the applicants for the third time filed an amended sequence
listing, however the listing did not reflect the changes to SEQ ID NO:6; (8) the '190 Patent initially
issued without the amendments contained in the RCE; (9) in mid-2013, the patentees requested,
and the PTO granted, a CoC that altered the definition of SEQ ID NO:6 from the sequence
beginning with nucleotide 336 (encoding amino acid 113) of the CD28 protein to the sequence
beginning with nucleotide 340 (encoding amino acid 114) of the CD28 protein. (Id.)

On December 13, 2019, the jury entered a unanimous verdict in favor of Plaintiffs, finding:
(1) Defendant had not proven by clear and convincing evidence that the Certificate of Correction
was invalid, (2) Defendant had not proven by clear and convincing evidence that any of claims
3, 5, 9, and 11 of the '190 Patent was invalid for lack of enablement or written description,
(3) Plaintiffs proved by a preponderance of the evidence that Defendant's infringement of the
corrected claims of the '190 Patent was willful, and (4) Plaintiffs proved by a preponderance of
the evidence the damages owed were a $585,000,000 upfront payment, and 27.6% running
royalty. (Jury Verdict, ECF No. 594.)

Following the jury's return of the verdict, the Court set a post-trial briefing schedule for both
parties and deferred entry of judgment. (Order, ECF No. 639.)

       II. LEGAL STANDARDS

              A. Judgment as a Matter of Law

The Federal Rules of Civil Procedure provide for the issuance of judgment as a matter of law
upon a motion "made at any time before the case is submitted to the jury." Fed. R. Civ. P.
50(a)(2). The Rules further provide that "[i]f the court does not grant a motion for judgment as a
matter of law under Rule 50(a), the court is considered to have submitted the action to the jury
subject to the court's later deciding the legal questions raised by the motion." Fed. R. Civ. P.
50(b). Moreover, "[n]o later than 28 days after the entry of judgment—or if the motion addresses
a jury issue not decided by a verdict, no later than 28 days after the jury was discharged—the
movant may file a renewed motion for judgment as a matter of law and may include an
alternative or joint request for a new trial under Rule 59." Fed. R. Civ. P. 50(b) (emphasis added).

"A Rule 50(b) motion for judgment as a matter of law is not a freestanding motion. Rather, it is
a renewed Rule 50(a) motion." E.E.O.C. v. Go Daddy Software, Inc., 581 F.3d 951, 961 (9th
Cir. 2009). Thus, "[u]nder Rule 50, a party must make a Rule 50(a) motion for judgment as a
matter of law before a case is submitted to the jury," and "[i]f the judge denies or defers ruling

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on the motion, and if the jury then returns a verdict against the moving party, the party may
renew its motion under Rule 50(b)." Id. "Because it is a renewed motion, a proper post-verdict
Rule 50(b) motion is limited to the grounds asserted in the pre-deliberation Rule 50(a) motion."
Id. "Thus, a party cannot properly 'raise arguments in its post-trial motion for judgment as a
matter of law under Rule 50(b) that it did not raise in its preverdict Rule 50(a) motion.'" Id. (citing
Freund v. Nycomed Amersham, 347 F.3d 752, 761 (9th Cir. 2003)). Notwithstanding this
requirement, "Rule 50(b) 'may be satisfied by an ambiguous or inartfully made motion' under
Rule 50(a)." Id. (citing Reeves v. Teuscher, 881 F.2d 1495, 1498 (9th Cir. 1989)).

A district court can grant a Rule 50 motion for judgment as a matter of law only if "there is no
legally sufficient basis for a reasonable jury to find for that party on that issue." Jorgensen v.
Cassiday, 320 F.3d 906, 917 (9th Cir.2003) (quoting Reeves v. Sanderson Plumbing Prods.,
Inc., 530 U.S. 133, 149 (2000)). "In entertaining a motion for judgment as a matter of law, the
court may not make credibility determinations or weigh the evidence." Krechman v. Cty. of
Riverside, 723 F.3d 1104, 1110 (9th Cir. 2013) (citations omitted). The evidence must be viewed
"in the light most favorable to the non-moving party, and all reasonable inferences are drawn in
that party's favor." El-Hakem v. BJY Inc., 415 F.3d 1068, 1072 (9th Cir. 2005).

              B. New Trial

Rule 59(a) provides that "[t]he court may, on motion, grant a new trial on all or some of the issues
. . . after a jury trial, for any reason for which a new trial has heretofore been granted in an action
at law in federal court." Fed. R. Civ. P. 59(a)(1)(A). "Unlike with a Rule 50 determination, the
district court, in considering a Rule 59 motion for new trial, is not required to view the trial
evidence in the light most favorable to the verdict. Instead, the district court can weigh the
evidence and assess the credibility of the witnesses." Experience Hendrix L.L.C. v.
Hendrixlicensing.com Ltd., 762 F.3d 829, 842 (9th Cir. 2014) (citing Kode v. Carlson, 596 F.3d
608, 612 (9th Cir. 2010) (per curiam)). "However, a district court may not grant a new trial simply
because it would have arrived at a different verdict." Silver Sage Partners, Ltd. v. City of Desert
Hot Springs, 251 F.3d 814, 819 (9th Cir. 2001) (citing United States v. 4.0 Acres of Land, 175
F.3d 1133, 1139 (9th Cir. 1999)). A new trial is appropriate under Fed. R. Civ. P. 59 "only if the
jury verdict is contrary to the clear weight of the evidence." DSPT Int’l, Inc. v. Nahum, 624 F.3d
1213, 1218 (9th Cir. 2010).

       III. DISCUSSION

Defendant moves for judgment as a matter of law on: (A) its written description defense; (B) its
enablement defense; (C) its defense that the CoC is invalid; (D) its good-faith defense to
willfulness; and (E) the opinion of Plaintiffs' damages expert, Dr. Ryan Sullivan. Defendant also:
(F) moves for a new trial based on: (1) the verdict form; (2) Dr. Sullivan's testimony; (3) large
figures; (4) the written description instruction; (5) Plaintiffs' IPR statements; (6) Plaintiffs'


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introduction of certain evidence; (7) the time limit; and (8) cumulative prejudice. Each ground is
addressed below.

              A. Written Description

Defendant argues that the '190 Patent claims are invalid for lack of written description as a matter
of law. (JMOL 2 (citing Ariad Pharm., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1350-51 (Fed. Cir.
2010) (en banc) (holding adequate description of a genus requires disclosure of either: (1) a
representative number of species falling within the genus, or (2) structural features common to
the members of the genus so that one of skill in the art can visualize or recognize the members
of the genus)).) Defendant further argues that the '190 Patent claims a broad genus that covers
an enormous number of functionally-identified CAR constructs. (JMOL 3.) Defendant further
argues that the CAR-T field was new and unpredictable when the '190 Patent was filed, and
remains unpredictable even today. (JMOL 4.) Similarly, the use of single chain variable
fragments ("scFvs") in CARs was also unpredictable. (Id.) Because the '190 Patent claims a
broad genus, and because the CAR-T field was new and unpredictable, the written description
does not satisfy the two-part test presented in Ariad. (Id.) Specifically, the specification does
not adequately describe the two CARs disclosed as examples because it does not disclose a
DNA or amino acid sequence, and for one example, does not disclose the amino acid sequence
of the scFv. (JMOL 5.) Moreover, even looking outside the specification (which would be
improper), no published materials would permit a person of ordinary skill in the art ("POSITA")
to identify the scFvs. (Id.) Additionally, the two CARs disclosed as examples, even if they were
adequately disclosed, would not be representative of the billions of CAR constructs claimed in
the '190 Patent. (JMOL 6.) For example, in AbbVie, the Federal Circuit determined that there
was no evidence demonstrating any antibody described in the patent was structurally similar to
the accused product (which was a member of the claimed genus). (JMOL 7 (citing AbbVie
Deutschland GmbH & Co. v. Janssen Biotech, Inc., 759 F.3d 1285 (Fed. Cir. 2014)).) Similar to
AbbVie, the scFvs disclosed in the '190 Patent are not representative of the claimed genus,
because YESCARTA® and other species encompassed within the genus are structurally and
functionally different. (JMOL 8.) Nor does the specification disclose common structural features
sufficient to allow a POSITA to visualize or recognize members of the genus. (JMOL 8-9.)
Plaintiffs' expert Dr. Brocker's testimony to the contrary was insufficient. He testified only to
common structural features (such testimony is insufficient under the law), and he applied the
wrong legal standard (first by assuming the scFv portion was not part of the claimed invention,
and by conflating the written description and enablement requirements). (JMOL 9-10.)

Plaintiffs respond that Defendant cannot meet its burden of demonstrating the evidence
overcoming the presumption of validity is clear and convincing, and undisputed. (Opp. 2.) The
record demonstrates scFvs were an old and well-known component of CARs, and the Federal
Circuit has already determined scFvs (as a CAR component) were known as early as 1995. (Id.

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(citing Capon v. Eshhar, 418 F.3d 1349, 1357 (Fed. Cir. 2005)).) The '190 Patent discloses a
novel combination of known elements—a binding element (i.e., scFv), and signaling element
(CD28 and zeta chain). (Opp. 3.) At the time the '190 Patent was filed, scFvs were routine and
well-known in the CAR field (as demonstrated by papers, witness testimony, and expert witness
testimony), thus the law states that the specification should preferably omit routine technology
that is well known. (Opp. 4-6.) Specifically, CD19-specific scFvs were shown to be well known
in the art, even by Defendant's own witnesses. (Opp. 6.) The '190 Patent additionally provides
examples of scFvs that can be used with the invention, and real-world evidence shows that
POSITAs did make the three-part CAR claimed in the '190 Patent. (Opp. 7.) Plaintiffs further
respond that the Federal Circuit recognized in 1995 that scFvs were a well-known component
of CARs, which Defendant itself relied upon to overcome a written description objection during
prosecution. (Opp. 8-9 (citing Capon, 418 F.3d at 1439 and other authority).) Plaintiffs further
respond that Defendant baldly mischaracterizes the '190 Patent's claims as functional genus
claims by virtue of their scFv element, but the claims are composition claims reciting a three-part
structure. (Opp. 9-10.) Plaintiffs further argue the Ariad test is inapplicable here because the
test is relevant to novel compounds, not those known in the art. (Opp. 11-12.) Even if relevant,
Ariad is satisfied because the patent discloses the CAR backbone, two scFvs successfully used
with the backbone, additional scFvs, and the CD19 scFv is representative of scFvs in the context
of CARs. (Opp. 12.) Defendant's contention that the two examples are not representative is
unpersuasive because the claims recite scFvs as part of a CAR, not any possible scFv chain.
(Opp. 13.) Plaintiffs further argue that Defendant's argument that Dr. Brocker used the wrong
test is forfeited, because it was not raised in Defendant's Rule 50(a) motion. (Opp. 14.) Even if
procedurally proper, Defendant misrepresents Dr. Brocker's testimony—he actually testified that
single-chain scFvs had been known and were separate from the Sadelain two-part backbone
invention. (Opp. 14-15.)

Defendant replies that Dr. Sadelain only made and disclosed two CARs in the '190 Patent, and
for those two CARs, the patent does not disclose the structure of the scFv portion. (Reply 1.)
Plaintiffs suggest the scFv portion is not the crux of the invention, where the law states that
written description is the same whether the claim is to a novel compound or a novel combination
of known elements. (Id.) Plaintiffs cannot satisfy Ariad where the specification discloses only
two incomplete examples, each claim covers an enormous number of CARs, the CARs are
diverse, the field was new and unpredictable, the two disclosed examples are not representative,
and the patent does not describe structural features common to scFvs targeting CD19. (Reply
2-6.) Defendant further replies that knowledge outside the patent cannot substitute for an
adequate description of the claims, and Capon did not hold there was sufficient written
description for the claimed CARs. (Reply 6-7.)

In order for Defendant to succeed on its JMOL, it must show that the Ariad test was satisfied by
clear and convincing, undisputed evidence. Ariad holds that "a sufficient description of a genus

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. . . requires the disclosure of either a representative number of species falling within the scope
of the genus or structural features common to the members of the genus so that one of skill in
the art can visualize or recognize the members of the genus. 598 F.3d at 1350 (citations
omitted). Ariad further recognizes that the inquiry is a highly factual one that "will necessarily
vary depending on the context," and that "the level of detail required to satisfy the written
description requirement varies depending on the nature and scope of the claims and on the
complexity and predictability of the relevant technology." Id. at 1351. The '190 Patent claims a
three-part CAR, where the two-part Sadelain backbone permitted T-cells to proliferate,
permitting patients' immune systems to continue targeting tumor cells following a single
treatment. The parties' written description dispute centers around the sufficiency of the written
disclosure for the third piece of the CAR—a binding element, which is limited to scFvs in the
asserted claims.

During trial, both parties presented conflicting evidence for scFvs for both Ariad factors. First,
Plaintiffs presented evidence and testimony that a representative number of species was
disclosed. Plaintiffs highlighted the '190 Patent's disclosure of several scFvs (two directed to
PSMA and CD19). Plaintiffs also presented testimony that scFvs were well-known in the art.
See UroPep GbR v. Eli Lilly & Co., 276 F. Supp. 3d 629, 648 (E.D. Tex. 2017) ("[W]hen a genus
is well understood in the art and not itself the invention but is instead a component of the claim,
background knowledge may provide the necessary support for the claim."). Plaintiffs presented
testimony and argument that scFvs had been made since at least 1988, and CARs utilized scFvs
as binding elements beginning in the early 1990s. Plaintiffs' expert Dr. Brocker testified that a
paper he authored in 1993 noted the interchangeability of scFvs in CAR design. A separate
paper authored by Krause and Finney stated scFvs had been successfully used as the binding
element in CARs in 1998. Plaintiffs further presented testimony that the '190 Patent disclosed
the Orlandi method, which could be used as a "cookbook" to make any desired scFv. Plaintiffs
further presented testimony that a dishwasher from Dr. Brocker's lab in fact used Orlandi's
method to make an scFv that Dr. Brocker used in his research.

Second, Plaintiffs presented evidence and testimony that a POSITA would be able to recognize
the members of the genus, based on the disclosure of structural features of scFvs. Plaintiffs
presented evidence that the '190 Patent describes two specific scFvs that share common
structural features. As discussed in the preceding paragraph, Plaintiffs also presented evidence
that scFvs were well known in the art, including the common structural features they share. In
light of the testimony presented, including the disclosures within the four corners of the patent,
Defendant cannot satisfy its burden of showing the Ariad test elements were undisputed.

That Defendant disputes Plaintiffs' testimony and evidence, or presented its own conflicting
evidence, is not grounds for JMOL. See Krechman, 723 F.3d at 1110 (court may not make
credibility determinations or weigh the evidence during JMOL).

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Thus, the Court denies Defendant's JMOL on written description.

              B. Enablement

Defendant argues the '190 Patent does not enable the full scope of the claims as a matter of law
because the art was nascent and unpredictable, the claims' structural limitations cover an untold
number (millions of billions) of constructs, only a subset of those constructs bind to a particular
target (but the '190 Patent does not disclose which), and the effective constructs must be
discovered via screening. (JMOL 11-13 (citing Wyeth & Cordis Corp. v. Abbott Labs., 720 F.3d
1380 (Fed. Cir. 2013); Idenix Pharms. LLC v. Gilead Scis. Inc., 941 F.3d 1149 (Fed. Cir. 2019)).)
Regarding screening, Plaintiffs presented no testimony regarding the effort this would take in the
2002 timeframe. (JMOL 13.) Defendant's expert, Dr. Garcia testified that making and testing a
single scFv could take months to more than a year. (Id.) Juno's efforts to create a human scFv
for CD19 demonstrate the time and effort required, where Juno screened one billion scFvs to
identify three candidates for use in a CAR. (Id.) Although Plaintiffs' expert Dr. Brocker testified
that the synthesis and testing were so easy that a dishwasher could perform them, the mere fact
that those steps were required for claims covering a large number of compounds in an
unpredictable field demonstrates that the claims were not enabled. (JMOL 14.)

Plaintiffs respond that Defendant cannot demonstrate that it proved enablement by clear and
convincing, undisputed evidence. (Opp. 15.) Specifically, Defendant did not dispute the '190
Patent explains how to make and test the two-part Sadelain backbone, it challenges the third
element of scFvs, which were not a new and unpredictable field. (Opp. 15-16.) Dr. Brocker
testified that making and testing scFvs was not more than standard laboratory procedure, and
the Sadelain backbone has worked with every scFv with which it was tested. (Opp. 16.) Dr.
Garcia's testimony to the contrary was generalized and rebutted by Dr. Brocker's testimony and
other evidence. (Opp. 17.)

Defendant replies that Plaintiffs' argument addresses only whether a POSITA could make a
single embodiment, but the correct legal inquiry is the level of experimentation required to
practice the full claim scope. (Reply 8.) Defendant argues that Plaintiffs started with a pool of
a billion scFvs to identify only 60 that bound to CD19, Plaintiffs have no evidence that functioning
of scFvs in the CAR field was predictable in 2002, Plaintiffs point only to generic techniques to
produce an scFv, Plaintiffs do not rebut Dr. Garcia's testimony that making and testing a single
functional scFv for a CAR could make months, if not years, with a success rate of 25%, and Dr.
Sadelain's testimony that he made up to 30 functional CARs with different scFvs after filing his
patent did not disclose the time and effort (or failures) relating to those CARs. (Reply 8-9.)

The enablement inquiry turns on whether a POSITA would have to engage in undue

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experimentation to make and use the claimed invention. In re Wands, 858 F.2d 731, 737 (Fed.
Cir. 1988). At trial, Plaintiffs presented evidence and testimony that a POSITA would not.
Specifically, Plaintiffs presented testimony including that in 2002, scFvs were not a new and
predictable field, that the steps to create an scFv were straightforward, that the Sadelain
backbone has been successfully used with a number of scFvs, that Plaintiffs' expert did not know
a single scFv that would not work with the Sadelain backbone. Defendant's arguments to the
contrary were appropriate for cross-examination, not for JMOL. Drawing all inferences in
Plaintiffs' favor, there was a legally sufficient basis for the jury's verdict.

Thus, the Court denies Defendant's JMOL for enablement.

              C. CoC

Defendant argues that the CoC is invalid as a matter of law. Although the question of whether
a clerical or typographical error (or how to correct the error) was clearly evident is a question of
fact, judgment as a matter of law is warranted when the material facts are undisputed. (JMOL
14-15 (citing Cent. Admixture Pharm. Servs., Inc. v. Advanced Cardiac Sols. P.C., 482 F.3d
1347 (Fed. Cir. 2007)).) Here, no reasonable juror could have found the CoC valid because a
POSITA would not know which of two possible costimulatory sequences was claimed—amino
acids 113-220 (originally-issued patent), or amino acids 114-220 (as amended by CoC). (JMOL
15.) Defendant argues none of the original claims, specification, or cited publications
unambiguously point to disclosure of amino acids 114-220. (JMOL 15-16.) The specification
lists both sequences and does not disclose a clearly evident correction and clearly evident error.
(JMOL 16-17.) The prosecution history is also ambiguous, because although the patentee
submitted an updated sequence listing with the RCE, the scientific explanation provided by
patentee for correcting the error did not indicate a clear error as to SEQ ID NO:6. (JMOL 17.)
Specifically, there was no clear error because the sequence in SEQ ID NO:6 need not be
divisible by three, the stop codon at the end of the sequence is irrelevant to whether the first
encoded amino acid is correct, the RCE's sequence merely identified an inconsistency from
original SEQ ID NO:6, the RCE's statement that the correction conformed to the construct used
in the examples is incorrect because the specification still described one example as beginning
with nucleotide 336 (corresponding to amino acid 113), not nucleotide 340 (corresponding to
amino acid 114). (JMOL 17-19.) Patentee's submissions containing the disclosure of amino
acids 114-220 were rejected for formal defects, until ultimately the 336-663 nucleotide listing
was reintroduced. (JMOL 19-20.) Plaintiffs did not introduce evidence creating a genuine
dispute of material fact, based on the foregoing. (JMOL 20.) Instead, Plaintiffs' evidence
impermissibly relied on material outside the intrinsic record, such as Dr. Schuetz, a third party,
who requested Dr. Sadelain's complete sequence (not disclosed in the patent) before
determining the error, Plaintiffs' expert Dr. Quackenbush did not give import to disclosures
unfavorable to his opinion that amino acids 114-220 were intended, Dr. Quackenbush's opinions

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contradicted the prosecution history, although Plaintiffs argued Dr. Sadelain only worked on
CARs beginning with amino acid 114 (not disclosed in the intrinsic record), an article that formed
the basis for the patent filing contained inconsistencies (including disclosure of sequences
starting with both 113 and 114). (JMOL 20-23.) The Court already rejected Plaintiffs' arguments
during claim construction, and the relevant evidence at trial confirmed the Court's findings, thus
the Court should enter JMOL that the CoC is invalid. (JMOL 23.)

Plaintiffs respond that there were material factual disputes for the jury to decide, and Plaintiffs
presented the testimony of Dr. Quackenbush that a POSITA would have understood SEQ ID
NO:6 to begin at amino acid 114 (based on the prosecution history, including the RCE). (Opp.
18.) Defendant cites no cases finding a CoC invalid where the prosecution history contains a
request for the correction in the CoC. (Opp. 19.) Defendant likewise points to scattered
references to nucleotides encoding amino acid 113 and an extraneous sequence beginning with
lysine, but these references do not serve as clear and convincing evidence (nor is it undisputed)
of the invalidity of the CoC, where Plaintiffs presented evidence and testimony to the contrary.
(Opp. 20.) Specifically, Dr. Quackenbush explained that the RCE showed four extraneous
nucleotides crossed out at the beginning of corrected SEQ ID NO:6, and further explained why
the correction was necessary. (Opp. 20-21, 22-23.) Dr. Quackenbush further testified that the
'190 Patent itself would have indicated to a POSITA the four initial nucleotides should be
removed. (Opp. 21-22.) Moreover, Defendant's argument is forfeited, because it was not raised
in its Rule 50(a) motion, and its arguments regarding the correctness of the RCE are irrelevant
to the CoC inquiry. (Opp. 23.) Plaintiffs further respond that Defendant's criticisms of Dr.
Quackenbush (besides being improper because they were also not raised in their Rule 50(a)
motion), were proper considerations for cross-examination, not JMOL. (Opp. 24-25.) Plaintiffs
further respond to the criticisms by responding that Dr. Quackenbush did not ignore certain
evidence, nor did he rely on extrinsic evidence. (Opp. 27.) Plaintiffs further respond that Dr.
Schuetz's testimony that he discovered a mistake based on information outside the intrinsic
record does not mean that Dr. Schuetz would not have identified an error based on the intrinsic
record, Dr. Bot admitted he did not review the RCE or prosecution history in determining SEQ
ID NO:6 began with amino acid 113, and Dr. Junghans' testimony that he made a CAR using
amino acids 113-220 is irrelevant because he testified he had not read the '190 Patent, let alone
the full intrinsic record at that point. (Opp. 27.)

Defendant replies that a CoC is improper for broadening the scope of a claim, where SEQ ID
NO:6 did not contain a correctable error. (Reply 9-10.) Defendant further replies that the claims
specified that SEQ ID NO:6 began with amino acid 113. (Reply 10.) The RCE does not resolve
any purported ambiguity because the RCE was superseded by the patent prosecutor filing
substitute sequence listings showing SEQ ID NO:6 to begin with amino acid 113, a POSITA
would not uncritically accept the statements in the RCE, and the RCE does not show the original
sequence had a clearly evident error. (Reply 11-12.) Dr. Quackenbush's testimony contradicts

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the intrinsic record and the Court's claim construction ruling. (Reply 12.) Defendant further
replies that real-world evidence, such as MSK's failure to notice the error for four and a half
years, Dr. Bot's and Dr. Junghan's interpretations as beginning with amino acid 113, and Dr.
Schuetz's tainted testimony as a result of meeting with counsel, weighs against such a finding.
(Reply 13.)

For Defendant to prevail on its JMOL finding the CoC invalid, Defendant must show there was
no legally sufficient basis for a reasonable jury to find in its favor. Jorgensen, 320 F.3d at 917.
"Invalidating a certificate of correction for impermissible broadening therefore requires proof of
two elements: (1) the corrected claims are broader than the original claims; and (2) the presence
of the clerical or typographical error, or how to correct that error, is not clearly evident to one of
skill in the art." Central Admixture Pharm. Servs., Inc. v. Adv. Cardiac Sols., P.C., 483 F.3d
1347, 1353 (Fed. Cir. 2007). The Court previously ruled on the first element when it determined
that the CoC altered the starting amino acid encoded by SEQ ID NO:6. (See Markman Order,
ECF No. 100, at 17 (starting at amino acid 113 before the CoC, amino acid 114 after the CoC).)
The Court previously declined to rule on the second element when it denied Defendant's motion
for summary judgment of noninfringement, finding that "a clear and genuine dispute of fact"
existed regarding whether "the error and correction would have been clearly evident to a POSITA
examining the record." (Summary Judgment Order, ECF No. 246, at 7.) At trial, both parties
presented extensive testimony and evidence regarding the validity of the CoC. Now, in order
for Defendant to prevail on its JMOL, it must show that despite Plaintiffs' extensive testimony
and evidence, there was no sufficient basis for the jury's finding.

The Court finds that Plaintiffs presented sufficient testimony on which a jury could base its
determination. It is undisputed that during patent prosecution, Plaintiffs sought an RCE in which
it stated that "an error occurred in the presentation of Seq. ID No. 6," and that "the amino acids
of the CD28 Sequence (144-220 contained a typographical error and should have been 114-
220)." (RCE, Sept. 4, 2007.) Plaintiffs also submitted an amended SEQ ID NO:6 crossing out
the first four nucleotides.




(RCE, Sept. 4, 2007.) The amended listing, and subsequent attempted amendment were both
rejected for improper formatting. The third attempt reverted back to the original SEQ ID NO:6.
Plaintiffs' expert Dr. Quackenbush then testified that as a POSITA, he understood the intrinsic
record (including the '190 Patent claims, specification, and prosecution history) to show the
uncorrected SEQ ID NO:6 solely as a result of a mistaken file submission, and that the RCE's
unambiguous correction clearly showed the amino acid sequence beginning at 114. (Tr. 1149:7-
1152:10.) Dr. Quackenbush further testified that the RCE stated that the first codon is "att,"

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which corresponds to a sequence starting at position 114. (Tr. 1151:8-18.) Although there was
additional testimony and evidence supporting Plaintiffs' position, the Court finds that at least
these specific examples provide a basis for the jury to have concluded the CoC was valid.

Defendant raises a number of points as to the merits of Plaintiffs' arguments, such as various
citations in the specification to a sequence beginning at the equivalent of amino acid 113, the
ambiguity of the RCE and subsequent amended submissions, the inadequacy of testimony by
Dr. Schuetz, the bias of Dr. Schuetz, Dr. Quackenbush's failure to properly consider certain
aspects of the patent and the prosecution history, an article by Dr. Sadelain, Plaintiffs' failure to
notice the error for four and a half years, and the conflicting testimony of Dr. Bot and Dr.
Junghans. But in light of the totality of the testimony presented, the Court cannot determine that
there did not exist a genuine issue of fact whether a POSITA would have recognized a clearly
evident error and solution, based on the intrinsic record of the '190 Patent. See Krechman, 723
F.3d at 1110 ("In entertaining a motion for judgment as a matter of law, the court may not make
credibility determinations or weigh the evidence."); see also El-Hakem, 415 F.3d at 1072 (holding
the evidence must be viewed "in the light most favorable to the non-moving party, and all
reasonable inferences are drawn in that party's favor.").

Thus, the Court denies Defendant's JMOL for a finding that the CoC is invalid.

              D. Willfulness

Defendant argues Plaintiffs failed to show Defendant launched YESCARTA® without doubts
about its validity or any notion of a defense. (JMOL 24.) Plaintiffs argued Defendant failed to
present witnesses stating they did not believe Defendant infringed, but Defendant was not
permitted to present such witnesses because it asserted privilege. (Id.) Plaintiffs also focused
on communications between Dr. Sadelain with Dr. Rosenberg (a physician at the National
Cancer Institute), Dr. Belldegrun's communications with Dr. Dash, and Defendant's filing of an
IPR in 2015. (Id.) However, these events took place years before Gilead acquired Defendant
and decided to launch YESCARTA®. (Id.) When sued, Defendant promptly raised the defenses
it raised at trial, and no evidence at trial suggested Defendant lacked a good-faith belief in its
defenses. (Id.)

Plaintiffs respond that Defendant cannot show no reasonable jury could have concluded
Defendant's infringement was willful. (Opp. 28.) Defendant cannot do this where Plaintiffs
introduced evidence that Defendant knew its collaborators copied the Sadelein backbone, tried
to license the '190 Patent unsuccessfully, tried to invalidate the '190 Patent unsuccessfully, and
then to commercialize YESCARTA® anyway. (Id.) The law considers conduct pre-dating
infringement as a factor. (Opp. 28-29.) Dr. Bot's excluded homology analysis was excluded
because it was superseded by other events, including advice of counsel and Defendant's

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licensing and IPR attempts, which rendered the evidence irrelevant, or at the very least,
prejudicial. (Opp. 29.) The Court precluded no other percipient witness testimony. (Id.) On
Defendant's litigation defenses, Defendant forfeited this argument by not raising it in its Rule
50(a) motion, but even if not, proof of an objectively reasonable litigation defense is no longer a
defense to willful infringement. (Opp. 29-30.) Even if it was, Defendant did not offer any
evidence of actual reliance. (Id.)

Defendant replies that the following undisputed facts foreclose a finding of willful infringement:
no infringing conduct before the launch, Gilead (not Drs. Belldegrun or Jakobovitz) decided to
launch YESCARTA®, and Plaintiffs offered no evidence regarding Gilead's willful infringement.
(Reply 13-14.) These facts do not support a finding of willful infringement because the inquiry
focuses on the mind of the infringer at the time of infringement. (Reply 14.)

For Defendant to prevail of its JMOL finding no willful infringement, it must show that no
reasonable jury could have concluded that Defendant acted despite a risk of infringement known
or so obvious that it should have been known to the accused infringer. The conduct is required
to be wanton, malicious, or in bad faith. See SRI Int'l, Inc. v. Cisco Sys., Inc., 930 F.3d 1295 (Fed.
Cir. 2019) (clarifying the standard for willful infringement set forth in Halo Elecs., Inc. v. Pulse Elecs., Inc.,
136 S. Ct. 1923, 1932 (2016)). The infringer's state of mind is determined at the time of
infringement, but conduct predating infringement may be relevant to determine the infringer's
state of mind at the time of infringement. Polara Eng'g Inc. v. Campbell Co., 894 F.3d 1339,
1353-54 (Fed. Cir. 2018).

The Court finds that Plaintiffs presented sufficient evidence of willfulness that a reasonable jury
could find in its favor. Plaintiffs presented evidence and testimony that Defendant knew that Dr.
Rosenberg from National Cancer Institute ("NCI") copied Dr. Sadelain's backbone, as
demonstrated by Defendant's attempting to be the first to license and to invalidate the '190
Patent. Plaintiff's fact witness Dr. Dash testified that Dr. Belldegrun was so desperate to pursue
a license to the '190 Patent that he appeared at her office, despite not having a meeting. Dr.
Jakobovitz similarly testified that Dr. Belldegrun met with Plaintiffs in an attempt to license the
'190 Patent. Plaintiffs further argued that Defendant's filing of the IPR against the '190 Patent
demonstrated the importance of the '190 Patent to Defendant. In light of at least these examples
of testimony and evidence, a reasonable jury could have entered a finding of willfulness.

Defendant's argument that it was precluded from introducing fact witness testimony relating to
its belief of non-infringement does not change this outcome. Dr. Bot's homology analysis,
performed in 2012, was excluded as having little relevance to the determination of willfulness in
2017, where Defendant subsequently obtained advice of counsel, attempted to license the '190
Patent, and filed an IPR against the '190 Patent. Thus, exclusion of Dr. Bot's testimony was not
because Defendant claimed privilege over its advice of counsel. It was because Dr. Bot's

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analysis bore little relevance to the willfulness determination where it was superseded by other
events, and what little relevance it did bear was outweighed by prejudice.

Finally, Defendant's argument that Gilead, not Defendant, was the one who decided to launch
YESCARTA® does not provide a sufficient basis for finding that no reasonable jury could have
determined Defendant willfully infringed YESCARTA®. The testimony regarding Dr. Rosenberg,
in addition to the testimony of Dr. Dash, Dr. Sadelain, Dr. Belldegrun, and Dr. Jakobovitz weighs
in favor otherwise.

Thus, the Court denies Defendant's JMOL for a finding of no willful infringement.

               E. Sullivan

Defendant argues Plaintiffs presented no legally or factually sufficient basis for damages, and
the proper award is the opinion Defendant's damages expert, Dr. Mohan Rao, would have
presented at trial but was precluded from doing so by the Court's Daubert Order. (JMOL 25.)
Dr. Sullivan testified his opinion was based upon a license agreement ("MSK License") between
Juno and Memorial Sloan Kettering 4 ("MSK"), which contained a royalty rate up to 7.25%, $6.9
million upfront payment, and potential milestone payments of $3.35 million through first approval.
(JMOL 26.) Juno and MSK also entered into a Side Letter Agreement, which set a maximum
stock appreciation success fee of $150 million. (Id.) Defendant argues Dr. Sullivan's use of the
success fee was not tied to use of the '190 Patent, where the Side Letter Agreement reflected a
broad collaboration between an academic institution and a startup. (JMOL 27.) Dr. Rao testified
that success fees are based on a relationship with an extensive collaboration, not between two
mature pharmaceutical companies. (Id.) Even if the success payment was proper, Dr. Sullivan
did not explain what portion should be allocated to the '190 Patent. (JMOL 27-28.) Moreover,
the expected value of the success fee depended on the parties' expectations about Juno's future
appreciation, and Juno's auditors assigned the success fee a de minimis value. (JMOL 28.) Dr.
Sullivan improperly substituted the appreciation of Defendant's stock for Juno's stock, and
improperly opined Defendant would have agreed to pay the stock success fee. (JMOL 29.) The
evidence showed that Defendant's and YECARTA®'s value was driven by factors other than the
patented construct, including clinical trials, manufacturing, lymphodepletion, physician outreach,
and future therapies. (JMOL 29-30.) Defendant further argues the 27.6% running royalty does
not apportion, where Dr. Sullivan did not value other essential inputs, such as manufacturing,
business risks, or significant features. (JMOL 31.) Defendant further argues Dr. Sullivan's
upward adjustments (markup from previous Novartis license, competitor adjustment) were
illogical and unsupported, including for his adjustment to the success fee. (JMOL 31-33.) Dr.

4MSK was dismissed as a party, but the Court did not preclude Plaintiffs from arguing that MSK would have been
present at a hypothetical negotiation.

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Sullivan's opinion departed from comparable licenses and rendered his opinion out of line with
economic reality. (JMOL 33-34.)

Plaintiffs respond that Dr. Sullivan's analysis was proper, and Defendant continues to rely on its
own interpretation of the MSK License to argue no reasonable jury could have found in Plaintiffs'
favor. (Opp. 31-32.) The MSK License (via Side Letter) provided a $150 million payment based
upon a multiple of initial equity value, and witnesses testified the success payment was
important, intended to provide upside without increasing equity burden, and has actually been
paid. (Opp. 31-32.) Unlike the stock swap which was excluded by the Court, the success
payment does not exchange Juno's shares for Kite's shares. (Opp. 33.) Apportionment was
built into the comparable license framework, and even if not, Dr. Sullivan testified that the
success payments would have been triggered solely off the $6.2 billion valuation for
YESCARTA® at the time of the hypothetical negotiation. (Id.) Plaintiffs further respond that the
Court already rejected Defendant's challenges to Dr. Sullivan's adjustments, and even if not,
these challenges are inappropriate for a JMOL, which does not permit a challenge to the
sufficiency of the evidence. (Opp. 34.) Moreover, the evidence at trial supported Dr. Sullivan's
adjustments: (1) the first adjustment (hypothetical negotiation between competitors, not
collaborators) uses a ratio, which was supported by the testimony of Dr. Dash and Dr. Belldegrun
(Opp. 35); (2) the second adjustment (hypothetical negotiation on the eve of launch) accounted
for the greater anticipated economic harm Juno expected due to Defendant being on the eve of
launch, which was supported by the testimony of Dr. Dash, Dr. Dulac, Dr. Gilbert, Dr. Belldegrun,
and Mr. Bishop (Opp. 35-36.) Plaintiffs further respond that the jury's damages award did not
violate apportionment requirements, because apportionment is built into the comparable-license
approach, and Defendant's authority addresses multi-component electronic devices or software
programs, not biotechnology. (Opp. 36-37.) Although Defendant touted other components as
drivers of value (lymphodepletion, manufacturing), Plaintiffs introduced contradicting evidence
(lymphodepletion leading to higher toxicities, first-generation manufacturing process), based on
which the jury could have concluded these other components added little overall value to
YESCARTA®. (Opp. 37-38.)

Defendant replies that the damages award is not apportioned because the '190 Patent is only
one component of YESCARTA® therapy and does not account for a complex manufacturing
process. (Reply 15.) The superiority of Juno's manufacturing and lymphodepletion regimen for
JCAR017 is not relevant to whether Defendant's processes have contributed to demand. (Id.)
Apportionment was not built into Dr. Sullivan's analysis, where he did not use the same license
rate as comparable license agreements, and Plaintiffs presented no evidence that Defendant
would have been willing to pay the success fee for a naked license to the '190 Patent. (Reply
16-17.) Moreover, there was no evidence tying the success fee to the '190 Patent, as the
payments consistent of various other components. (Reply 17.) Defendant further replies that
the success fee was improper because Dr. Rao's testimony that a success fee would not be part

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of a negotiation between two companies was unrebutted, the success fee was not apportioned
to the '190 Patent, there was no evidence to support the appropriateness of transfer of the equity-
based fee to a different company at a different time, and the 30-fold increase in Defendant's
stock resulted from factors other than the '190 Patent. (Reply 18.) Defendant further replies
that Dr. Sullivan's adjustments were unreliable because they resulted in Defendant paying five
times as much as Novartis, Juno did not expect competing for a significant part of the patent
term, and the adjustment to the success fee was unjustified. (Reply 18-19.)

Regarding the success payment, the Court already ruled that Dr. Sullivan's testimony regarding
the $150 million success payment was permissible. Unlike the stock swap that the Court
excluded, the success payment did not substitute the shares of one company for another.
Instead, the success payment was based on Dr. Sullivan's opinion that the parties at the
hypothetical negotiation would have agreed to the term based on the inclusion of the term to the
MSK License (via the Side Letter), and based on the parties' consideration of the $6.2 billion
valuation of YESCARTA®. That Defendant disagreed with the inclusion of the success payment
was a theory presented to and, based on the verdict, rejected by the jury.

Regarding apportionment (of both the licensing rate and success payment), the Federal Circuit
has held that apportionment is built into the comparable license framework. Commonwealth Sci.
& Indus. Research Org. v. Cisco Sys., 809 F.3d 1295, 1303 (Fed. Cir. 2015). However, even
assuming not, Plaintiffs presented testimony and evidence regarding the importance of the '190
Patent to YESCARTA®, and to Defendant's overall business. Specifically, Defendant tried
unsuccessfully, multiple times, to develop non-infringing alternatives. Defendant's own
witnesses (for example, Dr. Komanduri) likewise testified to the importance of the '190 Patent's
CAR construct to CAR-T therapy. That Defendant argued other factors contributed to the
success of YESCARTA® does not as a matter of law render the conclusion that apportionment
is required, especially where Plaintiffs introduced conflicting testimony regarding the importance
of the '190 Patent to YESCARTA®. Plaintiffs' damages testimony properly considered
apportionment, and there was thus a legally sufficient basis for the damages award by the jury.

Regarding Dr. Sullivan's adjustments, the Court already previously rejected Defendant's
argument that they were improper. Dr. Sullivan testified that he performed two adjustments, one
to account for the fact that the MSK License involved parties who would want to collaborate,
whereas the hypothetical negotiation involved two commercial competitors less likely to be
agreeable. The second adjustment accounted for Plaintiffs allowing a commercial competitor to
enter the marketplace with a competing product before them. The Court finds that the testimony
at trial provided a legally sufficient basis for the jury to enter Plaintiffs' damages award, including
enhancements.

Thus, the Court denies Defendant's JMOL regarding Dr. Sullivan.

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              F. New Trial

                     1. Verdict Form

Defendant argues that in closing argument, it used a version of the verdict form that specified
the period for the upfront payment should extend through trial. (JMOL 36.) Defendant asked the
jury to disregard Plaintiffs' damages requests, as Plaintiffs requested damages extending
beyond trial. (JMOL 36-37.) When Plaintiffs pointed to the term of upfront payment reflected in
the form, the Court stated Defendant's verdict form was different from the one the Court would
provide to the jury, and the Court-provided verdict form did not include the limitation for the
upfront payment through trial. (JMOL 37.) Defendant argues it was prejudiced because it could
not present a payment number for damages past trial, and its credibility was tarnished. (JMOL
37-38.)

Plaintiffs respond that Defendant knew or should have known that it was using an incorrect
version of the verdict form. (Opp. 38.) The Court repeatedly denied Defendant's requests to:
(1) limit Plaintiffs' evidence and testimony during trial regarding the upfront payment to the time
period through trial, and (2) revise the verdict form to include language limiting the upfront
payment through trial. (Opp. 38-39.) The Court at every turn denied Defendant's requests, and
Defendant itself had received at least five versions of the verdict form omitting the language.
(Opp. 39.) It was thus unreasonable for Defendant to believe that the Court, after consistently
rejecting Defendant's request throughout trial and earlier versions of the verdict form, would have
accepted Defendant's request in a later verdict form without any comment or explanation on the
record. (Id.) As the Court stated on the record, Defendant used the verdict form without first
clearing it with the Court, and the jury was provided with the verdict form that was approved by
the Court on the record with both parties. (Id.) Moreover, Defendant witnessed Plaintiffs arguing
from the correct verdict form (that was displayed on multiple monitors at Defendant's counsel's
table), yet Defendant remained silent regarding the verdict form (it was Plaintiffs who pointed out
Defendant's use of the wrong form). (Opp. 39-40.) Plaintiffs further respond that there was no
prejudice, where the Court had consistently denied Defendant's requests to limit damages
through trial, and Defendant's trial presentation never deviated from its view that the upfront
payment should be prorated. (Opp. 40.) Moreover, Defendant did present Dr. Rao's upfront
payment that was not prorated—$88 million. (Id.)

Defendant replies that it used the form it received, which included language it had previously
requested. (Reply 19.) The Court's rulings throughout trial did not reject Defendant's request to
limit damages through trial. (Id.) The parties discussed changes with the Court on the morning
of December 11, and the form distributed included the changes discussed that morning, as well
as a change to the term of upfront payment. (Reply 20.) The Court also incorporated other

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changes without comment on the record, including two agreed-upon changes and the order of
questions presented. (Reply 20.) Defendant was prejudiced because it did not suggest to the
jury to use the $88 million upfront payment, although the figure was noted. (Reply 20-21.)
Defendant also notes its credibility was harmed by criticizing Dr. Sullivan's upfront payment.
(Reply 21.)

As a preliminary matter, the Court notes that it has already ruled upon Defendant's motion for a
new trial based on the verdict form. First, the Court ruled on Defendant's oral motion for a mistrial
on the record:

       Mr. Dane, you used the verdict form without clearing it first with the Court. So I
       just want to make sure that is clear. And this – the verdict form that is being given
       to the jury today is the verdict form that was initially approved . . . by the Court on
       the record.

(Tr. 1543:18-24.) Second, the Court provided further explanation in a written order following
trial. (Order, ECF No. 584.) Specifically, the Court found the motion for mistrial did not bear
merit because: (1) the Court's ruling on the record was clear, (2) the verdict form provided to the
jury was consistent with the Court's ruling, and (3) any error was not prejudicial to Defendant
where its damages expert consistently argued damages should be limited through trial, and
(4) removal of the express limitation of damages through trial did not preclude the jury from
entering the award argued by Defendant's counsel. (Order, ECF No. 584, at 2-3.)

Nevertheless, the Court once again addresses Defendant's request. On December 10, 2019,
the Court heard arguments from both parties regarding the proposed verdict form. One issue
was whether Question 5a (regarding the upfront payment for damages) should include a note
expressly limiting damages through the end of trial. Defendant, who argued throughout trial the
upfront payment should be prorated through the end of trial, requested inclusion of the language.
Plaintiffs, who argued throughout trial the upfront payment should not be pro-rated, opposed
Defendant's request. The Court distributed an updated verdict form at the end of December 10,
2019, which did not include the limitation. On December 11, 2019, the Court noted Plaintiffs had
submitted an updated jury verdict form. (Tr. 1321:13-14; see also ECF No. 554.) The form did
not include the limitation. Each party made an unopposed request to the verdict form unrelated
to the limitation. (Tr. 1321:14-1322:8 (requesting changes re party names and willful
infringement).) The Court granted both modifications to Plaintiffs' updated jury verdict form. (Tr.
1322:9-12.) Plaintiffs' updated jury verdict form, including the two unopposed modifications, was
the form provided to the jury for deliberation.

In light of these facts, the Court finds that its ruling on the record was clear and unambiguous.
Plaintiffs' updated jury verdict form, with the two unopposed modifications, was the final verdict

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form. Although there appears to be some confusion as to the potential distribution of a different
version, 5 Defendant was at least on inquiry notice that what it believed to be the final verdict
form was incorrect, because: (1) the Court permitted Dr. Sullivan to testify to an un-prorated
upfront payment during trial, (2) the Court never granted Defendant's request to include the
limitation on the record, (3) the Court's previous revisions to the verdict form without comment
in the record were for non-substantive, unopposed, changes, (4) in addition to the two proposed
forms provided by the Court on December 10, Plaintiffs sent an additional two proposed forms
to Defendant, none of which included the limitation, (5) Defendant received Plaintiffs' updated
jury verdict form (omitting the language) the morning of December 11, (6) Plaintiffs' updated
verdict form had only two unopposed modifications incorporated on the record, (7) Defendant
had the opportunity to see Plaintiffs utilize a different verdict form, (8) Defendant had a full day
to verify the correct form because it received the form on December 11, but did not use it during
its closing argument until December 12, and yet (9) as noted on the record, Defendant did not
confirm the final verdict form with the Court before using it.

Moreover, Defendant was not prejudiced, where it presented the same damages theory
throughout trial. Removal of the limitation did not preclude the jury from awarding Defendant a
pro-rated upfront payment. Defendant referenced what its expert used as the full upfront
payment ($88 million), so the jury was aware what amount they could award, if they agreed with
Defendant. (Tr. 1502:17-23 ("For the upfront payment, he used the $88 million that potentially
could have been paid over the whole term of the Novartis license . . . , and then he prorated
it . . . . And that's proper to prorate it because of the limited period of damages.").); see also
Ruvalcaba v. City of Los Angeles, 167 F.3d 514 (9th Cir. 1999) (relief warranted only where
prejudice results). As to Defendant's argument that its credibility was tarnished, the Court notes
that Defendant's counsel's arguments regarding the entirety of its damages case (including
comparable license analysis, upfront payment, reasonable royalty, revisiting testimony of Dr.
Sullivan and Dr. Rao) totaled 11 minutes, out of the 142 minutes Defendant argued. 6 Thus,
Defendant's showing of the verdict form during a portion of the 11 minutes, out of 142 minutes
of closing argument, was minimal. While the Court does not believe Defendant's use of the
verdict form caused any prejudice, any prejudice was minimal considering the minimal use of
the form, when compared to the entirety of Defendant's closing argument. 7,8

5 Plaintiffs state that contrary to Defendant's assertion, they never received an incorrect version of the verdict form

prior to closing arguments. However, given Defendant's counsel's declarations, the Court assumes for purposes
of this Order that Defendant received an incorrect version of the verdict form.
6 The Court's records indicate Defendant's counsel's closing argument on December 11 spanned 1:59pm (Tr.

1417:15) – 3:29pm (Tr. 1465:7), and on December 12 spanned 8:45am (Tr. 1475:5) – 9:37am (Tr. 1506:1).
Counsel's damages argument on December 12 spanned 9:26am (Tr. 1498:24) – 9:37am (Tr. 1506:1).
7 The Court notes the jury, while sending notes on other issues, did not send a note requesting clarification regarding

the jury verdict form.
8 The Court notes its view that Defendant's use of the incorrect verdict form was minimal and no more prejudicial

than other events during Defendant's closing, such as Defendant presenting a slide listing its own witness as a

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Thus, the Court again denies Defendant's motion for a new trial based on the verdict form.

                         2. Sullivan's Testimony

Defendant argues Plaintiffs introduced testimony about future harms not disclosed in Dr.
Sullivan's report. (JMOL 38.) Dr. Sullivan was limited to past damages (not future anticipated
harm), as the Court had limited Dr. Sullivan to testifying that his upfront payment was for harms
realized at the hypothetical negotiation, not any future anticipated harm. (JMOL 38-39.) Dr.
Sullivan then testified the $585 million upfront payment necessarily applied through the term of
the '190 Patent, thus his conflicting opinions about whether his proposed royalty fully
compensates for future harms are irreconcilable and provide an improper basis for the jury's
award. (JMOL 39-40.) Dr. Sullivan's testimony regarding his royalty compensating for future
harms prejudiced Defendant, who would otherwise have presented testimony regarding
anticipated non-infringing constructs. (JMOL 40.)

Plaintiffs respond that the Court already rejected Defendant's argument that Dr. Sullivan's
testimony exceeded the scope of his expert report. (Opp. 41.) Plaintiffs further respond that Dr.
Sullivan testified consistent with his opinion that the upfront payment is for harms realized at the
hypothetical negotiation, not compensation for future harm. (Id.) Plaintiffs further respond that
Dr. Sullivan did not give conflicting opinions on lost profits—Defendant conflated the hypothetical
negotiation with post-trial relief. (Id.) Plaintiffs further respond that Defendant was not prejudiced
by not presenting anticipated non-infringing constructs, because Defendant's non-infringing
alternatives theory was so weak and speculative that Defendant withdrew its theory before trial.
(Opp. 41-42.)

Defendant replies that Plaintiffs did not identify other opinions of Dr. Sullivan where he
contradicted himself so as not to give confusing and self-contradictory testimony. (Reply 21.)
Defendant further replies that it was prejudiced by not pursuing a theory regarding non-infringing
alternatives which the parties would have expected to be available after the time of trial. (Id.)

The Court holds that for the reasons noted above (see supra, Section III.E), even under the
standard for a motion for a new trial where the Court may "weigh the evidence and assess the
credibility of the witnesses," the Court cannot conclude that the jury verdict is contrary to the
clear weight of the evidence. The Court already ruled on Defendant's Daubert motion to exclude
certain testimony by Dr. Sullivan and found that his testimony was not inconsistent with his


witness for Plaintiffs. (Tr. 1459:10-14 ("Oh, and I apologize, . . . there is an error on the slide. Dr. Schuetz was, of
course, not a Juno witness, so I apologize for that. He was one of our witnesses, and that should not indicate that
he was a Juno witness.").)

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disclosed opinion that the upfront payment is for "harms realized at the hypothetical negotiation."
(ECF No. 659 at 39.) To the extent Defendant argues it was prejudiced by its inability to develop
and present non-infringing alternatives that would exist post-trial, Defendant: (1) was in
possession of evidence of non-infringing alternatives post-trial (see DX2011c.8 (multi-generation
forecast for 2020); see also DX0125c (clinical trials)), (2) to the extent Dr. Sullivan's testimony
was inconsistent, Defendant never requested reopening discovery to develop its purported non-
infringing alternatives theory, (3) it remains unclear to this Court why Defendant would require
discovery of its own non-infringing alternatives, and (4) Defendant had the opportunity to
address any inconsistency in Dr. Sullivan's damages theory in its opposition to Plaintiffs' post-
trial briefing re damages. (See ECF Nos. 672-2, 693.)

For these reasons, the Court denies Defendant's motion for a new trial based on Dr. Sullivan's
testimony.

                     3. Large Figures

Defendant argues Dr. Sullivan's testimony was tied to large figures (projected profits,
YESCARTA® valuation, negative impact to Juno, upfront payment from separate agreement,
and royalty rates for late-stage technologies). (JMOL 41.) Defendant argues these figures were
not apportioned, highly speculative, not sufficiently similar, and should not have been permitted,
even as a check on the reasonableness of a damages award. (JMOL 42.)

Plaintiffs respond that the data points were highly relevant. As an initial matter, Defendant's
failure to object to the admissibility of multiple data points to which it now objects, means it has
waived its right to seek a new trial. (Opp. 42.) However, even if Defendant had not waived its
right, each of the data points is relevant to the damages analysis. (Opp. 43.)

Defendant replies that it preserved its objections by moving in limine to preclude Plaintiffs from
referring to high dollar figures Dr. Sullivan did not rely upon in his calculations. (Reply 21.)
Plaintiffs then misrepresented to the jury large numbers as real anchors in the real world,
skewing the jury's damages horizon. (Reply 22.) Defendant was also not permitted to introduce
an estimated upfront payment between Juno and Celgene. (Id.)

As a threshold matter, Defendant failed to object to and receive a ruling on multiple figures it
now disputes. See 11 Wright & Miller, Fed. Practice and Procedure § 2805 (3d ed. 2002) (stating
a new trial will not be granted on issues not called to the court's attention, "unless the error was
so fundamental that gross injustice would result"). True, Defendant filed a motion in limine to
preclude generally testimony of "high dollar figures that Sullivan does not use in his calculations"
(ECF No. 309 at 1, 12) (and the Court did in fact exclude all but one of the figures contained in
the motion in limine) and filed objections "regarding projected or actual licensing figures that

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neither expert has relied upon," however these broad objections cannot satisfy the requirement
for calling a court's attention to an inadmissible figure during live testimony.

Nevertheless, the Court determines on the merits that the figures presented by Plaintiffs do not
warrant a new trial.

$7.1 billion projected profits through patent term. Although Defendant did not object to this figure
during testimony, the Court determines that Gilead's projected profits for YESCARTA® through
the term of the '190 Patent are a relevant consideration to the hypothetical negotiation, and
specifically to what Plaintiffs would have considered paying. Defendant's argument that the
figure should have been apportioned is an issue of fact appropriate for cross-examination, where
Plaintiffs argued the '190 Patent was critical to YESCARTA®, and Defendant argued factors
other than the '190 Patent contributed to the success of YESCARTA®.

$6.2 billion alleged value of YESCARTA®. The Court already rejected Defendant's motion in
limine to exclude this figure, as it determined that Gilead's value assigned to YESCARTA® had
a nexus to the accused product. (Order, ECF No. 473, at 9.) Furthermore, this figure is relevant
as the value that Gilead attributed to YESCARTA®. Defendant's argument that the figure should
have been apportioned is an issue of fact appropriate for cross-examination, where Plaintiffs
argued the '190 Patent was critical to YESCARTA®, and Defendant argued factors other than
the '190 Patent contributed to the success of YESCARTA®.

$1.3 billion projected annual negative impact to Juno. Although Defendant did not object to this
figure during testimony, the Court determines that the negative annual revenue Juno anticipated
from Defendant's market entry as a result of its license to the '190 Patent is relevant to Dr.
Sullivan's damages calculation and appropriate to consider under the law. See Georgia-Pacific
Corp. v. U.S. Plywood Corp., 318 F. Supp. 1116, 1121 (S.D.N.Y. 1970) (considering "the
anticipated amount of profits that the prospective licensor reasonably thinks he would lose as a
result of licensing the patent").

$1 billion upfront payment from Celgene-Juno Agreement, 20-30% royalty rates for late-stage
technologies. Defendant did not object to these figures during testimony, but the Court notes
that even if Defendant had objected to and excluded these figures at trial, the jury verdict would
not be rendered contrary to the clear weight of the remaining evidence.

Thus, the Court denies Defendant's motion for a new trial based on large figures.

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                    4. Written Description Instruction

Defendant argues the written description jury instruction provided to the jury was flawed because
it did not correctly cover the legal standard for written description of genus claims. (JMOL 43.)
Although the Court followed a model instruction for written description, the instruction was
inadequate because it referred to the invention in the singular, did not include the word genus,
or explain that the specification must enable the full scope of the claims. The instruction also
did not lay out the Ariad standard that "a sufficient description of a genus . . . requires the
disclosure of either a representative number of species falling within the scope of the genus or
structural features common to the members of the genus so that one of skill in the art can
visualize or recognize the members of the genus." (JMOL 44 (citing Ariad, 598 F.3d at 1350).)
Defendant argues it presented clear and convincing evidence that the patent does not meet the
legal standard for genus claims, but the jury was free to forgo the required analysis. (JMOL 45.)

Plaintiffs respond that Defendant cannot show, as it must, that the written description jury
instruction was erroneous and prejudicial. (Opp. 44.) The instruction tracked the N.D. Cal.
model patent instruction, updated in 2019. (Id.) There is no special instruction for what
Defendant labels the Ariad standard, thus Defendant's objection amounts to nothing more than
a complaint that the Court did not charge the jury in the particular way Defendant wanted. (Id.)
35 U.S.C. § 112(a) presents a single written description test, and Ariad's discussion of genus
claims makes clear that the description requirement does not demand any particular form of
disclosure. (Id.) Defendant's proffered instruction would have confused the jury, where no
witness ever discussed genus claims. (Opp. 45.) Defendant's objections regarding invention in
the singular and omission of the term genus were likewise never raised, and the presented
instruction clearly and correctly stated disclosure must show possession of the invention. (Id.)

Defendant replies that Plaintiffs mischaracterize the genus requirement, disclosed in Ariad.
(Reply 22.) Ariad specifies what is required to show possession for a genus claim. (Reply 23.)
Although the term genus was used only once, witnesses testified that the claims included millions
of billions of different CARs. (Id.) Defendant's use of the term genus only once was unsurprising,
given the Court did not rule on jury instructions until after the close of the evidence. (Id.)

The Court finds that Defendant cannot demonstrate the written description instruction provided
by the Court was erroneous and prejudicial. First, the instruction, from the N.D. Cal. Model
Patent Instructions (last updated in Oct. 2019), was not erroneous where the written description
instruction mirrored statutory requirements for written description. 35 U.S.C. § 112(a). The
statute requires a written description of the invention so as to enable any person skilled in the
art to make and use the same. (Id.) The instruction stated, inter alia, that "[a] patent claim is
invalid if the patent does not contain an adequate written description of the claimed invention."
(ECF No. 591, at Instruction No. 17.) Despite Defendant's assertion that the instruction should

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have set forth the specific requirements for a genus claim as set forth in Ariad, if true, Defendant
offers no explanation for why the model instruction has not been modified in the nine years
following Ariad's issuance. Nor did Defendant present a model instruction from any authority for
genus claims, instead drafting from scratch a two-part written description jury instruction, where
the second part cherry-picked language from various decisions. (ECF No. 372, at 90-93.)
Defendant's instruction was confusing, where the term "genus" was only used at trial once during
Defendant's opening, and the jury did not hear the term referenced by any of the witnesses.
Defendant's instruction was also argumentative and improper, for example because it used
language improperly shifting the burden: "the specification needs to show that the inventors had
truly invented the claimed genus." (Id. at 91.) In light of these factors, the Court cannot conclude
that providing Plaintiffs' instruction rather than Defendant's was erroneous.

Second, even if it was, the Court finds that Defendant cannot demonstrate the instruction was
prejudicial. As Ariad states, the inquiry of whether a written description is sufficient is a question
of fact that "will necessarily vary depending on the context," specifically "the nature and scope
of the claims and . . . the complexity and predictability of the relevant technology." Both sides
presented conflicting evidence regarding whether the three-part CAR structure, including the
description of scFvs for use with the Sadelain backbone, was adequately described. Defendant
had the opportunity to, and indeed did, argue that the claimed invention included millions and
billions of potential scFvs, and that the patent did not contain an adequate written description
describing which scFvs would create working CARs. If the jury agreed with Defendant's
argument, based on the instruction provided to the jury, it could not have found the written
description adequate. Based on this, Defendant cannot demonstrate the requisite prejudice
warranting a new trial. 9

Thus, the Court denies Defendant's motion for a new trial based on the written description jury
instruction.

                         5. Plaintiffs' IPR Arguments

Defendant argues Plaintiffs misled the jury about the IPR for the '190 Patent when they
questioned Dr. Belldegrun about the fact that none of the challenged claims was invalidated
during IPR, and during closing arguments referenced Defendant having lost all challenges raised
before the PTO. (JMOL 46.) The curative instructions could not dispel Plaintiffs' persistent
misdirection. (JMOL 47.)


9The Court also notes that in its view, even if Defendant's two-part instruction had been read, the jury's finding of
adequate written description would not have been in contravention of the clear weight of the evidence. (See supra,
Section III.A.); see also Ariad, 598 F.3d at 1352 (stating in part that "written description and enablement often rise
and fall together . . .").

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Plaintiffs respond that it was Defendant who offered the Final Written Decision ("FWD") from the
IPR into evidence. (Opp. 46.) Once Defendant offered the patent prosecution history, including
the FWD, into evidence, Plaintiffs were entitled to explain the FWD and place it in context. (Id.)
Additionally, the IPR was relevant following Dr. Belldegrun's testimony that the '190 Patent was
not important to Defendant. (Id.) Plaintiffs further respond that their IPR statements were
accurate and proper, where they stated Defendant made arguments on a separate issue than
the one the jury was asked to decide, three patent judges reviewed the IPR, and Defendant
could have raised claim construction arguments on the SEQ ID NO:6 term. (Opp. 47.) Plaintiffs
further respond Defendant was not prejudiced, where the Court provided a limiting instruction
multiple times, and Defendant's counsel highlighted the instruction during closing argument. (Id.)

Defendant replies that Plaintiffs' misuse of the IPR was prejudicial where the Court admitted
testimony regarding the filing of the IPR. (Reply 23.) Defendant used the patent prosecution
history only to cross-examine Dr. Sadelain regarding the CoC, and never mentioned anything
related to the IPR. (Reply 23-24.) Plaintiffs' references to Defendant's CoC defense in the IPR
were prejudicial and erroneous, and the curative instruction did not resolve the issue where the
Court never specifically instructed the jury to disregard Plaintiffs' statements. (Reply 24.)

As a preliminary matter, the Court notes it already ruled on the record regarding Defendant's
oral motion for a mistrial based on Plaintiffs' IPR arguments. During closing argument, counsel
for Plaintiffs argued that "either party in an IPR proceeding can make arguments about claim
construction . . . . [I]t's apparent that Kite made no argument before the three patent judges,
who really know the technology and the law, that the '190 patent sequence for SEQ ID:6 started
at 113." (Tr. 1532:1-8.) The Court subsequently issued a written Order:

      The Court understands Plaintiffs' argument to be that Defendant, while asserting
      some claim construction arguments during the IPR, did not ask PTAB to construe
      whether the sequence in claim 1 should start at 113 or 114. The Court is not
      persuaded that this comprises a misstatement of law. The Court already granted
      Defendant's request to instruct the jury during trial that a patent can only be
      challenged during IPR on grounds of anticipation or obviousness, not for a
      certificate of correction, inadequate written description, or enablement. The Court
      again included the instruction as Closing Instruction No. 15(a). Given the limited
      nature of Plaintiffs' remark during closing, the Court's multiple IPR instructions to
      the jury, and the Court's instruction to the jury that attorney argument is not
      evidence, the Court decides a mistrial is not appropriate.

(Order, ECF No. 584 at 3.)

Nevertheless, the Court again addresses Defendant's argument. Defendant made the decision

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to admit the entire prosecution history into evidence, including the FWD. If Defendant believed
the FWD to be prejudicial, Defendant had the option of admitting an excerpted version of the
prosecution history. Based on its failure to do so, Plaintiffs were entitled to utilize the FWD once
admitted. The Court further notes that the IPR became relevant when Dr. Belldegrun testified
that the '190 Patent was not important to Plaintiffs, as his testimony was contradicted by
Defendant's decision to file the IPR to attempt to invalidate the '190 Patent. As the Court noted
throughout trial, it did not view Plaintiffs' statements regarding the IPR as inaccurate, and
moreover, the Court provided multiple limiting instructions regarding the IPR. The Court's view
is thus that Plaintiffs' arguments did not misstate the law, the Court cured whatever prejudice
may have resulted, and any prejudice was not so pervasive that a new trial is warranted.

Thus, the Court denies Defendant's motion for a new trial based on Plaintiffs' IPR arguments.

                     6. Good-Faith Evidence

Defendant argues that because it maintained privilege in this case, 35 U.S.C. § 298 precluded
Plaintiffs from using Defendant's failure to present such advice to prove willful infringement.
(JMOL 47.) Defendant further argues it should have been permitted to offer Dr. Bot's homology
analysis as non-attorney evidence of good faith. (Id.) Plaintiffs should not have been permitted
to reference Defendant's lack of evidence, and Defendant should have been granted a curative
instruction. (JMOL 47-48.)

Plaintiffs respond that Defendant, in its opening statement, promised the jury that Defendant had
"very, very good reasons" for believing it did not infringe. (Opp. 48.) Plaintiffs' closing argument
noted Defendant failed to fulfill its promise of showing those very, very good reasons. (Id.)
Plaintiffs further respond Defendant was precluded from introducing Dr. Bot's homology analysis
because it was outdated, irrelevant, and unfairly prejudicial, not because Defendant asserted
privilege. (Id.) Plaintiffs further respond that their comment that Defendant presented no fact
witness who reviewed the patent for non-infringement or invalidity did not violate 35 U.S.C. § 298
because Plaintiffs did not reference any failure to obtain advice from counsel, or choice to obtain
advice of counsel but not present it. (Opp. 48-49.)

Defendant replies that Plaintiffs previously persuaded the Court that good faith evidence was
inadmissible because Defendant elected to withhold the advice of counsel. (Reply 24-25.)
Having been successful, Plaintiffs could not rely on the absence of such evidence at trial. (Reply
25.)

Regarding Dr. Bot's homology analysis, as noted above, the testimony was excluded for reasons
other than Defendant's assertion of privilege. (See supra, Section III.D.) However, unlike for a
JMOL, for a motion for new trial, the Court may weigh the evidence to determine whether the

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jury verdict is contrary to the clear weight of the evidence. DSPT Int’l, 624 F.3d at 1218. Under
this standard for a motion for a new trial, the Court finds that even if Dr. Bot's testimony had
been permitted, the clear weight of the evidence would still support the jury's verdict.
Regarding Plaintiffs' reference to Defendant's lack of testimony of good-faith evidence, the Court
finds that Plaintiffs' arguments were not improper, where Defendant promised during opening
that it had very, very good reasons for believing it did not infringe. Given Defendant's statements,
Plaintiffs were permitted to point out any purported failure by Defendant to satisfy its promise,
particularly where the reference was to the lack of any fact witness, not advice of counsel.

Regarding the curative instruction, the Court notes it already ruled on Defendant's request on
the record. (Tr. 1537:5-14.) Specifically, the Court stated that "the Court would conclude that it
cannot be inferred from [Plaintiffs' counsel's] statements that he was suggesting to the jury that
Kite should be found to have willfully infringed because it did not present advice of its lawyers
that it had defenses under section 112 or 255." (Id.) Defendant's motion now does not change
the Court's prior ruling.

For these reasons, the Court denies Defendant's motion for a new trial based on good-faith
evidence.

                     7. Time Limit

Defendant argues it was prejudiced by insufficient time, where it was given only 11.7 hours to
present evidence on a wide range of issues, and where it bore the burden on three liability
defenses. (JMOL 48.) Defendant argues the time limit forced it to drop or truncate the testimony
of numerous witnesses and could not develop key aspects of its case. (JMOL 49.)

Plaintiffs respond that the Court imposed no rigid time limits, and Defendant was ultimately
satisfied with its time. (Opp. 49.) The Court noted from the beginning that time limits were
subject to adjustment during trial, and in fact expanded time to allow for interim summation
(which neither party utilized). (Id.) Throughout trial, the Court noted its flexibility and willingness
to add time. (Opp. 49-50.)

Defendant requested more than one time for additional time, and the Court denied those
requests. (Reply 25.) Only on the last day of testimony did the Court allow Defendant extra time
for cross-examination, which did not undo the prejudice of having to drop or truncate every
witness in its case. (Id.)

As an initial matter, the Court has already considered and ruled upon Defendant's request for
additional time. First, the Court stated on the record, "I have always made it clear that the Court


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would reconsider in terms of the time. The defendant asked for 40 minutes. They were given
an additional 40 minutes. The plaintiff asked for an additional 40 minutes, they were given 40
minutes. And there was no request for more time. So that should be clear in the record also."
(Tr. 1314:22-1315:3.) Second, following trial, the Court issued an Order noting that: (1) at the
parties' Scheduling Conference in March 2018, the Court contemplated a five or six day trial, as
only one patent was at issue (ECF No. 92 at 54); (2) after the Scheduling Conference, the
disputed issues narrowed significantly, as literal infringement and infringement under the
doctrine of equivalents were no longer at issue; (3) at the parties' November 26, 2019 Pretrial
Conference, the Court initially allotted 10 hours for each side for witness testimony; (4) at the
parties' unopposed request, the Court expanded the time limit to 11 hours for each side to permit
witness summation, "subject to adjustment" (Order, ECF No. 530, at 1); (5) after trial began,
Defendant requested an extra forty minutes for witness testimony, which based on the stage of
trial and stage of examination, the Court granted; and (6) Defendant did not utilize the full amount
of its requested extension. (Order, ECF No. 584, at 2.) The Court further noted that for its
closing argument, Defendant initially requested and was granted 1.5 hours, then requested and
was granted 2 hours, then requested and was granted 2.25 hours, and still exceeded its time
allotment. (Id.) Because the Court disclosed as early as eighteen months before trial the trial
would be allotted five to six days, 10 the case subsequently narrowed, the Court adjusted the time
limits for trial based on a demonstrated need, and Defendant did not utilize its full time on the
record, the Court found Defendant was allotted sufficient time at trial.

Defendant's current arguments largely mirror its previous arguments. Nevertheless, the Court
addresses them again. The Court's view is that the scope of this patent case, although dealing
with complex technology, was not large. There was one asserted patent, with essentially two
asserted claims (four claims, broken into pairs, with limitations common to all four claims). This
was an untraditional patent case in the sense that infringement (neither literal nor under the
doctrine of equivalents) was at issue for trial. Nor were there common invalidity issues, such as
invalidity or anticipation. The Court's view is that neither party bore a substantially heavier
burden, where Plaintiffs bore the burden of introducing the technology, proving willful
infringement, and proving damages in the amount of $752 million, and where Defendant bore
the burden of proving the Certificate of Correction invalid and proving its written description and
enablement defenses. 11

Trial spanned eight days, during which the jury heard from 23 total witnesses, 12 twelve for

10 In the Court's view, a six-day trial estimate, expecting 5.5 hours of witness testimony per day, would break down
to one day for jury selection and opening statements, four days of witness testimony (11 hours per side), and one
day for closing arguments.
11 The Court's view is that there was significant overlap between Defendant's written description and enablement

defenses at trial.
12 The testimony of five witnesses was by deposition designation.



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Plaintiffs and eleven for Defendant.          The Court repeatedly maintained flexibility and
accommodated the parties where a need was demonstrated. For example, the Court permitted
Defendant to put up two of its own witnesses out of order. Dr. Bot testified on December 5 in
order to allow him to attend a conference, and Dr. Schuetz was permitted to testify on December
6, during the middle of Plaintiffs' expert's testimony. The Court further accommodated
Defendant by keeping the jury late on December 5 for Dr. Bot to complete his testimony. With
regard to the time limit, the Court granted Defendant's request for time when Defendant
demonstrated a need, for example by granting an extra forty minutes during a cross-examination
when Defendant was nearing the end of its allotted time. The Court further granted Defendant's
two requests to extend its time allotted for closing argument.

Defendant's argument that it was forced to drop or truncate the testimony of numerous witnesses
due to its 11.7-hour allotment is not persuasive. Before trial, Defendant itself requested 12.5
hours of witness testimony (ECF No. 531, at 1), yet filed an order of proof on the evening before
the last day of witness testimony containing nine pages of testimony and exhibits that it was
supposedly precluded from presenting (ECF No. 543, at 2-10). The Court is doubtful that all of
Defendant's arguments and exhibits could have been introduced in an additional 48 minutes.
Nor is Defendant's authority persuasive. Defendant cites a "similarly meager 10-hour time
allotment in a 'complex' copyright case" as grounds for a new trial, but the district court's time
limit in that case has since been affirmed by the Ninth Circuit, sitting en banc. Skidmore v. Led
Zeppelin, No. 16-56057, at 49-50 (9th Cir. 2020) (en banc) (finding trial time limit was not an
abuse of discretion where the district court was "up front about the limits and then . . . flexible at
counsel's request").

Thus, the Court denies Defendant's request for a new trial based on time limits.

                     8. Cumulative Prejudice

Defendant argues the cumulative prejudice of multiple errors requires the Court to grant a new
trial. (JMOL 49.) Defendant alleges that misconduct and error pervaded the trial, and each error
affected a central component of the case. (Id.) The errors were not harmless because the
Federal Circuit has invalidated analogous antibody claims, Plaintiffs offered no new evidence
demonstrating the CoC's error and correction were clearly evident, and Plaintiffs' damages vastly
exceeded comparable licenses. (JMOL 49-50.)

Plaintiffs respond that all of their previous arguments address why there was no prejudice to
Defendant, and thus why no errors could have accumulated. (Opp. 50.) Even if errors had
occurred, they would have been harmless, especially given Defendant's new trial arguments
largely address different legal issues and discrete evidentiary issues. (Id.)


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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL


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Based on the Court's analysis above, and based on the Court's observations having presided
over the entirety of trial, the Court finds that prejudice for each of Defendant's issues (if any
exists) did not accumulate to a level such that the jury's verdict was against the clear weight of
the evidence. DSPT Int’l, 624 F.3d at 1218.

      IV. RULING

For the foregoing reasons, the Court DENIES Defendant's Motion for Judgment as a Matter of
Law Pursuant to Fed. R. Civ. P. 50(b) and/or a New Trial Pursuant to Fed. R. Civ. P. 59 [ECF
No. 659].

IT IS SO ORDERED.




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